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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 IN RE BROILER CHICKEN ANTITRUST                    No. 16 C 8637
 LITIGATION
                                                    Judge Thomas M. Durkin


                        MEMORANDUM OPINION AND ORDER

      This case was filed in 2016 alleging a conspiracy among Broiler chicken

producers to reduce supply and to manipulate the Georgia Dock price index. The

Court denied Defendants’ motions to dismiss in 2017, and the case proceeded to

discovery.

      During discovery, it came to light that the Antitrust Division of the

Department of Justice was conducting a criminal investigation of the Broiler

industry, specifically regarding allegations of bid-rigging. The investigation

culminated in: (1) indictments in 2020 of Defendant Pilgrim’s Pride and some of its

officers; (2) Defendant Tyson signing a cooperation agreement; (3) Pilgrim’s pleading

guilty; (4) indictments in 2021 of Defendants Claxton and Koch, which were

eventually dismissed; and (5) several Pilgrim’s officers being acquitted in a third trial

after two previous mistrials.

      After the criminal indictments were filed, Plaintiffs in this case sought to

amend their complaints to include bid-rigging claims. Addition of the bid-rigging

claims would have significantly extended discovery in a case that was already five

years old and in which discovery was nearly complete. To avoid undue delay of the
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supply reduction and Georgia Dock claims that were on the cusp of summary

judgment, the Court bifurcated the case into two “tracks.” Plaintiffs who were willing

to forgo bid-rigging claims could continue on the case’s current track (“Track One”) to

complete discovery on the supply reduction and Georgia Dock claims and proceed to

summary judgment and trial if necessary. Plaintiffs who wished to pursue bid-rigging

claims (along with their supply reduction and Georgia Dock claims) would be

separated into a second track (“Track Two”), which would be stayed until Track One

was complete.

      The class plaintiffs (including classes of: (1) direct purchasers; (2) commercial

and institutional indirect purchasers; and (3) consumer end-user indirect purchasers)

and more than 100 direct purchasers who had opted out of the class, decided to

continue on Track One. Subsequently, the Court granted summary judgment in

Track One to seven defendants (Case, Fieldale, Foster, Fries-Claxton, Perdue,

Wayne, and Agri-Stats), and denied summary judgment to eleven defendants

(Harrison, Keystone, Koch, Mountaire, OK Foods, Peco, Pilgrim’s, Raeford,

Sanderson, Simmons, and Tyson). 1 All defendants which were denied summary

judgment settled before trial except for Sanderson, who ultimately prevailed at trial.

Trials were scheduled for both the indirect and end-user classes, but both settled

shortly before the trials were scheduled to begin.




1 Defendants George’s, Mar-Jac, and Amick settled either before the summary
judgment motions were due or while they were being briefed and decided.
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      Another 130 direct purchasers who opted out of the class (known to the parties

and the Court as direct-action plaintiffs, or “DAPs”) decided to wait to pursue their

claims in Track Two. See R. 5455 at 3-49. The Court ordered the DAPs in the Track

Two to file a consolidated complaint. The consolidated complaint includes the

following counts claiming violations of federal antitrust law:

             Count 1:    brought by all Plaintiffs alleging an
             “overarching” conspiracy to reduce supply, manipulate the
             Georgia Dock, and to rig bids;

             Count 2:    brought by all Plaintiffs against           all
             Defendants alleging a supply reduction conspiracy;

             Count 3:    brought by all Plaintiffs against certain
             Defendants for a conspiracy to manipulate the Georgia
             Dock;

             Count 4:    brought by certain Plaintiffs against certain
             Defendants for a bid-rigging conspiracy;

             Count 5:    brought by certain Plaintiffs against certain
             Defendants for a bid-rigging conspiracy; and

             Count 6:     brought by all Plaintiffs alleging overarching
             conspiracy to both manipulate the Georgia Dock and to rig
             bids.

The consolidated complaint also contains a RICO count based on the Georgia Dock

conspiracy allegations (Count 9), and counts making claims under various state laws

(Counts 7-8 and 10-36) for the same conduct alleged in the federal counts.

      Two different groups of Plaintiffs bring Counts 1 and 6 against two different

groups of Defendants. A subset of Plaintiffs referred to as “Certain Restaurant DAPs”

bring Counts 1 and 6 (the claims for overarching conspiracies) against only the “Bid-

Rigging Defendants”—i.e., those Defendants alleged to have engaged in a bid-rigging

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conspiracy in Counts 4 and 5. 2 The rest of the Plaintiffs—the “Non-Restaurant

DAPs”—bring Counts 1 and 6 against all Defendants.

      The Bid-Rigging Defendants are the only Defendants implicated in Counts 4

and 5, which are brought by all Plaintiffs. All Bid-Rigging Defendants move to

dismiss Counts 4 and 5 for lack of standing or being a “proper party.” Some Bid-

Rigging Defendants—namely Sanderson, Raeford, Wayne, Case, and Fieldale—also

argue that Plaintiffs have failed to plausibly allege a claim against them in Counts 4

and 5. A single Defendant—Pilgrim’s—has moved to dismiss Count 2, which alleges

a supply reduction conspiracy, and Count 3, which alleges a Georgia Dock conspiracy.

Defendants also seek dismissal of the RICO and state law claims.

      In sum, the Court finds the following: First, Plaintiffs have plausibly alleged a

bid-rigging conspiracy among the Bid-Rigging Defendants. Plaintiffs have alleged

facts showing that the Bid-Rigging Defendants increased prices in parallel. In

addition, Plaintiffs have alleged facts showing communications among the Bid-

Rigging Defendants exchanging price information with the intent to work together to

maintain or increase the prices offered to their customers, i.e., the Plaintiffs in this

case. Defendants’ argument—that not every Plaintiff in particular has alleged facts

showing that they were offered higher prices as a result of the conspiracy—takes too

narrow a view of the reasonable inferences the Court can draw from the extensive




2 The “Bid-Rigging Defendants” are: Case, Claxton, Fieldale, George’s, Raeford, Koch,

Mar-Jac, Marshall Durbin, Perdue, Pilgrim’s, Sanderson, Simmons, Tyson, and
Wayne.
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allegations of communications among the Bid-Rigging Defendants. The only Bid-

Rigging Defendant for whom the allegations are insufficient is Fieldale.

      Second, no Defendant has made a sufficient argument that the Court should

reconsider its findings that the supply reduction and Georgia Dock conspiracy claims

are plausibly alleged. Pilgrim’s is the only Defendant to make any argument on these

issues, and the Court rejects Pilgrim’s arguments for the reasons discussed below.

      Lastly, Plaintiffs have failed to state an over-arching conspiracy claim against

the seven Defendants who are alleged to have participated in only the supply

reduction conspiracy, and not the bid-rigging or Georgia Dock conspiracies. There is

nothing about the factual allegations supporting the supply reduction conspiracy

indicating that those seven Defendants knew of or participated in any broader

conspiracy.

      Notably, Plaintiffs have not alleged any particular facts specifically indicating

an overarching conspiracy with regard to any particular Defendant, such as an email

discussing all three conspiracies. Despite this lack of evidence specifically indicating

an overarching conspiracy, the fact that all of the Bid-Rigging Defendants are alleged

to have participated in both the supply reduction and bid-rigging conspiracies, while

some were also simultaneously allegedly participating in the Georgia Dock

conspiracy, is sufficient to plausibly allege an overarching conspiracy that includes

all three conspiracies. The supply reduction and bid-rigging conspiracies followed

each other consecutively, suggesting that bid-rigging was a continuation of supply

reduction for the Bid-Rigging Defendants. Additionally, some of the Bid-Rigging



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Defendants are also alleged to have conspired to manipulate the Georgia Dock at the

same time as the bid-rigging conspiracy, strongly suggesting a connection between

the two. Moreover, the strength of the evidence of communications among the Bid-

Rigging Defendants permits the reasonable inference that they were communicating

about more than just prices. At bottom, the fact that all Bid-Rigging Defendants

participated in two of the underlying conspiracies at the same time, while a third was

also in process by some of the same Defendants, and that they were all

communicating regularly about pricing, plausibly suggests an overarching

conspiracy.

      For those reasons, which are explained in greater detail below, the motions to

dismiss Count 1 and 6 are granted in part and denied in part; the motions to dismiss

Counts 4 and 5 are granted in part and denied in part; Pilgrim’s motion to dismiss

Counts 2 and 3 is denied; and the motion to dismiss the RICO and state laws claims

is denied without prejudice and deferred until summary judgment.

I.    Counts 4 & 5: Bid-Rigging

      The factual allegations supporting the three underlying conspiracies are the

foundation for the overarching conspiracy claims. For that reason, analysis of the

three underlying conspiracies logically should take place prior to analysis of the

overarching conspiracies. Thus, the Court will begin by analyzing Counts 4 and 5

which implicate the plausibility of one of the underlying conspiracies, namely bid-

rigging.




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      In Counts 4 and 5, Plaintiffs claim that, from 2011 to 2019, the Bid-Rigging

Defendants conspired to fix the price of Broiler chicken, in some instances by rigging

bids, in other instances simply by increasing or maintaining a customer’s price with

the knowledge that no competitor would undercut it. For years now, the Court and

the parties have used the term “bid-rigging claims” as shorthand for the claims

embodied in Counts 4 and 5. Clearly, however, these counts make claims regarding

Defendants’ conduct beyond formal bids, and include claims for more general price

information exchange with the goal of fixing prices in offers to customers that were

not necessarily a part of a bid process. The heart of Counts 4 and 5 are Plaintiffs’

allegations that the Bid-Rigging Defendants exchanged information about their

prices that enabled them to both rig bids and fix prices more generally. Nevertheless,

the Court will continue to refer to Counts 4 and 5 as the “bid-rigging claims” or the

“bid-rigging conspiracy” even though these counts encompass broader alleged

conduct.

      Moving beyond semantics, it is clear in Counts 4 and 5 that Plaintiffs allege

that the Bid-Rigging Defendants accomplished price fixing by exchanging

information about the prices they planned to bid or charge Plaintiffs, who were

Defendants’ customers. Plaintiffs allege that this information exchange resulted in

parallel increases of the prices Defendants charged for Broiler chicken between 2011

and 2019.

      “Parallel behavior” by putative competitors (i.e., competitors following the

same course of conduct) can be circumstantial evidence of an agreement not to



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compete. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 553 (2007). Here, the

“parallel behavior” is the parallel increase in Broiler chicken prices between 2011 and

2019. See R. 5455 ¶¶ 974, 1079-99.

       Parallel price increases alone, however, do not plausibly suggest an illegal

anticompetitive agreement. This is because such increases can be “prompted by

common perceptions of the market,” a circumstance which is not considered

anticompetitive. See Twombly, 550 U.S. at 554; see also White v. R.M. Packer Co., 635

F.3d 571 (1st Cir. 2011).

       To plausibly allege illegal agreement, “allegations of parallel conduct . . . must

be placed in a context that raises a suggestion of a preceding agreement.” Twombly,

550 U.S. at 557. Here, Plaintiffs allege numerous exchanges of price information

among the Bid-Rigging Defendants. See R. 5455 ¶¶ 898-1071. It is well-settled that

the   exchange   of pricing    information among       competitors is indicative       of

anticompetitive agreement. See United States v. U.S. Gypsum Co., 438 U.S. 422, 457

(1978) (“[T]he exchange of price information among competitors carries with it the

added potential for the development of concerted price-fixing arrangements which lie

at the core of the Sherman Act’s prohibitions.”); Blomkest Fertilizer, Inc. v. Potash

Corp. of Saskatchewan, 176 F.3d 1055, 1067 (8th Cir. 1999) (“[T]he exchange of such

information can be evidence of the existence of an agreement to fix or stabilize

prices.”).

       Defendants’ exchange of price information is particularly indicative of

collusion in this case because, as the Court has discussed in many prior opinions, the



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Broiler chicken market functions like a commodity market. In markets for

commodities and other fungible products, the competition is price-based (as opposed

to being based on quality or some other product characteristic), such that exchanges

about prices among competitors are especially likely to cause anti-competitive effects.

See United States v. Container Corp. of Am., 393 U.S. 333, 337 (1969); Olean

Wholesale Grocery Coop., Inc. v. Agri Stats, Inc., 2020 WL 6134982, at *6 (N.D. Ill.

Oct. 19, 2020).

      Moreover, some of the documented communications appear to hint at the

ultimate goal of maintaining or increasing prices to the detriment of customers. 3



3 See, e.g., R. 5455 ¶ 908 (“On December 21, 2011, Penn (Pilgrim’s) communicated to

Jimmie Little (Pilgrim’s) regarding the pricing for dark meat chicken. Penn told Little
that he understood that for common restaurant customer Church’s Chicken,
competitor Koch was ‘holding firm at dark [8-piece COB] -27.’ On December 26, 2011,
Scott Brady (Pilgrim’s at the time), confirmed that ‘I talked to Bill [Kantola (Koch)]
on Friday and he got 27 back.’ Little responded, ‘Good for them! Now we know where
we need to be.’”); id. ¶ 915 (“On November 7, 2012, Pilgrim’s and Claxton again
exchanged their pricing intentions with respect to Pollo Tropical, this time for the
2013 calendar year. McGuire (Pilgrim’s) asked Larry Pate (Pilgrim’s): ‘How did it go
with PT?’ Pate responded to McGuire: ‘Not sure. I Walter [Cooper (Claxton)] and
saying he has to have .89. We [Pilgrim’s and Claxton] are both holding firm at .90.
We will see.’ Following their communications, Pilgrim’s and Claxton both charged
Pollo Tropical the identical amount of $0.89 for splits.”); id. ¶ 961 (“Chad Baker
(Pilgrim’s) thereafter reported in an internal Pilgrim’s exchange that ‘buyer called
and he is not happy. Doesn’t matter. We are holding our position . . . . I still expect
the price increase to be accepted and shipping at the new price with the next set of
orders placed.’”); id. ¶ 993 (“Jason Slider (Pilgrim’s) and Scott Tucker (Pilgrim’s)
exchange in August 2014 referencing Bojangles further demonstrates Bid-Rigging
Defendants’ strategy to use KFC as leverage for exacting across-the-board increases
from other Bid Customers: ‘Wow. Price just went higher for 2015. Tucker responded:
‘Everybody will be paying through the nose. KFC will be paying close to $0.30
between price increase and case weight increase.’ Slider then responded, ‘Good. Get
it while we can!! What is the proposed price on Bojangles’ for next year?’ Tucker
responded, ‘We haven’t started talking about it yet. Once KFC is inked, we’ll be
hitting these others starting next week.’”).
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Communications of this sort bolster the plausibility of Plaintiffs’ claims that the

exchanges of price information were anticompetitive, and not merely competitive

gathering of information about the market.

      Further, Pilgrim’s pled guilty to a criminal conspiracy to rig bids and fix prices

with regard to the quick service restaurant, KFC, a major direct purchaser of Broiler

chicken. Pilgrim’s confirms those admissions in this case. See R. 5587 at 7 n.1.

Additionally, Tyson applied for leniency in the criminal bid-rigging case, thereby

admitting to participating in a criminal conspiracy with respect to KFC. See R. 5455

at 51 n.11. With these admissions as a foundation, the court in the criminal case

examined the evidence of price exchange communications among Pilgrim’s, Tyson,

and several other Bid-Rigging Defendants in this case, and found by a preponderance

of the evidence that the government had demonstrated a conspiracy to rig bids and

fix prices among those Broiler producers (even though many of them were not named

as defendants in the criminal indictment). 4 The communications alleged in the

complaint in this case are largely the same communications that were the basis for

the conspiracy finding by the court in the criminal case. While the criminal court’s

finding is not binding on this Court, it is a highly persuasive opinion, especially

considering that the preponderance standard is a higher standard than the

plausibility standard Plaintiffs must satisfy here.

      Faced with the strength of these allegations, a majority of the Bid-Rigging

Defendants do not challenge the sufficiency of the allegations to demonstrate that



4 United States v. Penn., No. 20-cr-00152-PAB (D. Colo. 2021), Docket Entry No. 559.


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they joined a conspiracy to rig bids and fix prices. Some do, and the Court will address

those arguments below. All Defendants argue, however, that Plaintiffs “fail to

properly plead Article III standing or ‘proper party’ status under the Sherman Act.”

R. 5599 at 20. This argument is based on the fact that “42 of the 64 Count 4 [Plaintiffs]

allege no bids or purchases connected to them that were ‘rigged’ or ‘fixed,’” and “rely

entirely” on what Defendants characterize as “a conclusory assertion that ‘Plaintiffs’

negotiated pricing with unspecified ‘Bid-Rigging Defendants.’” Id. In other words, the

Bid-Rigging Defendants argue that even if the evidence shows that they conspired to

rig bids and fix prices, many of the Plaintiffs have not alleged and cannot demonstrate

that they were harmed by that conduct.

      The initial problem with this argument is that, contrary to the Bid-Rigging

Defendants’ argument, the allegation that “Plaintiffs” negotiated pricing with the

“Bid-Rigging Defendants,” while not specific, is also not conclusory. Plaintiffs have

direct knowledge of their negotiations, and so do Defendants. In other words, all of

the Plaintiffs know who their suppliers were, and all of the Defendants know who

their customers were. For that reason, Plaintiffs’ allegation that they negotiated

prices with Defendants is well pled, and the Court does not see that as a particularly

controversial finding.

      The real argument Bid-Rigging Defendants raise is that a particular Plaintiff

cannot plausibly plead that it was harmed by higher prices without specific

allegations that it negotiated with Bid-Rigging Defendants that exchanged pricing

information about that particular Plaintiff. The Bid-Rigging Defendants argue that,



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absent such specific allegations, those particular Plaintiffs “fail to show that the

purported ‘increased prices’ they paid were ‘fairly traceable’ to the alleged bid-rigging

conduct identified in the Complaint.” Id. at 21.

      Plaintiffs respond that the “general rule is that customers . . . in the affected

market have antitrust standing.” See R. 5710 at 15 (quoting Viamedia, Inc. v.

Comcast Corp., 951 F.3d 429, 482 (7th Cir. 2020)). The problem with Plaintiffs’

argument, however, is that it assumes that the alleged price-fixing conduct had a

market-wide effect. True, if a plaintiff can allege market-wide affect, then the plaintiff

can likely establish standing without alleging that they directly transacted business

with the defendant conspirators. But if Plaintiffs’ standing relies on harm to the

market as a whole, then Plaintiffs must plausibly allege such harm. Presumably in

an attempt to demonstrate harm to the entire market, Plaintiffs allege that some of

the particular Plaintiffs experienced “virtually identical” price increases. See R. 5710

at 16. But while this allegation may bolster the claim that the Bid-Rigging

Defendants’ price-fixing activity was effective and far-reaching, it is not an allegation

of a mechanism by which the market as a whole was affected by the Bid-Rigging

Defendants’ conduct.

      The Court, however, does not perceive a market-wide effect to be necessary for

Plaintiffs to allege that they were directly harmed by Bid-Rigging Defendants’ alleged

bid-rigging and price fixing conduct. This is because all Plaintiffs have alleged that

they negotiated prices with certain Bid-Rigging Defendants, and there is evidence

that the Bid-Rigging Defendants exchanged pricing information with each other in



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the context of maintaining or increasing prices. In general, Bid-Rigging Defendants

do not dispute that this kind of evidence—i.e., evidence of price exchange among

competitors about certain customers in the context of price increases—is sufficient to

plausibly allege a price-fixing conspiracy that harmed the customers whose

information was exchanged. 5 But such allegations also permit the reasonable

inference that Defendants were rigging bids and fixing prices for all of their

customers, even if Plaintiffs have not specifically alleged that Bid-Rigging

Defendants rigged bids or fixed prices with respect to each particular Plaintiff.

Plaintiffs allege and identify communications about the pricing of many negotiations

with many different Plaintiffs. Such extensive price exchanges, in the context of

increased prices, plausibly suggest that the Bid-Rigging Defendants were exchanging

price information and rigging bids and fixing prices not just for the Plaintiffs

specifically referenced in the communications cited in the consolidated complaint, but

for all of their customers. The price-fixing claims of all Plaintiffs—not just those for

whom there is already evidence of price exchanges—are plausible for that reason.

      Bid-Rigging Defendants argue that such allegations are insufficient to

demonstrate Plaintiffs’ standing and that there is not a sufficiently “direct” “causal

connection” between the alleged bid-rigging conduct and harm to each Plaintiff.

Defendants believe that Plaintiffs must identify specific negotiations that were rigged

or fixed. But that is tantamount to requiring Plaintiffs to prove their case at the



5 Some Defendants dispute the sufficiency of the specific allegations against them of

communications of price exchange, and the Court will address those arguments
below.
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pleading stage. According to Twombly, the Court is required to evaluate Plaintiffs’

allegations drawing all reasonable inferences in the plaintiff’s favor. See Thomas v.

Neenah Joint Sch. Dist., 74 F.4th 521, 523 (7th Cir. 2023) (quoting Iqbal, 556 U.S. at

678 (“Facial plausibility exists ‘when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.’”)); see also Hernandez v. Ill. Inst. of Tech., 63 F.4th 661, 666 (7th

Cir. 2023). It is reasonable to infer that producers who are fixing prices with respect

to a large number of their customers are plausibly fixing prices for the remainder of

their customers as well, absent some reason that would make that unlikely or an

unreasonable inference. Perhaps Defendants will identify a contrary explanation at

summary judgment, but they have not done so here.

      While all of the Bid-Rigging Defendants challenge whether some Plaintiffs

plausibly alleged standing or causation, many of the Defendants (i.e., Claxton,

George’s, Koch, Mar-Jac, Marshall Durbin, Perdue, Pilgrim’s, Tyson) do not challenge

the sufficiency of the allegations that they joined a bid-rigging and price-fixing

conspiracy. The following Defendants, however, make that challenge: Sanderson;

Simmons; Wayne; Raeford; Case; and Fieldale.

      Sanderson points out that the “dissemination of price information is not itself

a per se violation of the Sherman Act.” R. 5602 at 11 (quoting United States v. Citizens

& S. Nat. Bank, 422 U.S. 86, 113 (1975)). True, but this isn’t summary judgment. And

exchange of price information can plausibly indicate participation in a conspiracy




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under the right circumstances, such as the parallel price increases by competitors

alleged here.

      Sanderson also argues that “Plaintiffs do not allege that Sanderson . . . itself

shared . . . information,” see R. 5602 at 11 n.8, implying that the other Bid-Rigging

Defendants who possessed Sanderson’s pricing information acquired it against

Sanderson’s will. But Plaintiffs allege that an internal Pilgrim’s email from 2014

states that it contained “Notes Direct from Sanderson,” followed by Sanderson pricing

information. See R. 5455 at 325 (¶ 1020). Sanderson argues that the phrase “direct

from Sanderson” is ambiguous. Perhaps, but ambiguity is not the standard here. At

the pleading stage, the Court draws reasonable inferences in Plaintiffs’ favor, and it

is certainly reasonable to infer from this Pilgrim’s email that Sanderson provided

pricing information to its competitor. In the context of Sanderson raising prices in

parallel with its competitors, the allegation that Sanderson’s competitors were

provided Sanderson’s pricing information “directly from Sanderson” is sufficient to

plausibly allege that Sanderson participated in a price exchange conspiracy to fix

prices.

      Sanderson cites cases in which defendants were dismissed because the

plaintiffs failed to allege what a defendant did that was “asserted to be wrongful,” see

Bank of Am., N.A. v. Knight, 725 F.3d 815, 818 (7th Cir. 2013), or that a

communication suggesting a price fix “actually” caused a price to be fixed, see

Sonterra Cap. Master Fund Ltd. v. Credit Suisse Grp. AG, 277 F. Supp. 3d 521, 557

(S.D.N.Y. 2017); see also R. 5602 at 13 (citing additional similar cases). But Plaintiffs’



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allegations against Sanderson do not share those defects. Sanderson is alleged to

have shared information with Pilgrim’s and to have raised prices in parallel with its

competitors. Contrary to Sanderson’s arguments, these allegations provide the notice

about what Sanderson allegedly did wrong and how it caused harm to Plaintiffs.

      Simmons. Plaintiffs’ claims against Simmons rely on an email in which a

Simmons employee recounts a conversation he had with a Pilgrim’s employee. See R.

5455 at 296-97 (¶ 901). According to the Simmons employee, the Pilgrim’s employee

expressed dissatisfaction with Defendant Koch for “goofing up” prices with Plaintiff

El Pollo Loco. See id. The Simmons employees then contemplate that if they raised

their prices to El Pollo Loco, Pilgrim’s would “do the same.” See id. The statements

by the Simmons employees imply uncertainty about Pilgrim’s plans, and Simmons

argues that this undermines Plaintiffs’ conspiracy claim. But the fact that Simmons

communicated with Pilgrim’s about how to prepare offers to a shared customer, and

indicated that there had been a joint plan with a third Defendant, Koch, is a plausible

basis to infer a conspiracy in the context of price increases. Further, the Simmons

employees assumed that Pilgrim’s response to Simmons increasing the price to El

Pollo Loco would be to raise Pilgrim’s prices. As discussed above and in other opinions

the Court has issued in this case, this is at least plausibly contrary to competitive

behavior because competitors in a commodity market generally attempt to undercut

their competitors’ prices to steal their market share.

      Furthermore, the email at issue here is with Pilgrim’s, which has admitted

that it conspired to rig bids to major direct purchaser KFC. This heightens the



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suspicious nature of any communications by a competitor with Pilgrim’s regarding

pricing. Communications about pricing with a producer who has admitted to rigging

bids are sufficient to plausibly establish a conspiracy, when the communications are

followed by increased prices.

       Raeford.     Plaintiffs   also   make    plausible   allegations   that   Raeford

communicated with its competitors about pricing. In 2010, an internal Raeford email

reported pricing received from competitors Sanderson and Wayne. See R. 5455 at 296

(¶ 900). The Raeford employee reported that he had received this information by

talking with employees at those companies. Id.

       Additionally, in 2015, an internal Raeford email reported, “we have talked to

Wayne Farms, they -09.” R. 5455 at 326 (¶ 1025). The email reported further that

they “also talked to Amick” and Defendant Amick “confirmed [that] they didn’t sell a

[pound] for less than -06.” Id. To which another Raeford employee responded, “I don’t

think we should mention talking to our competition about pricing. That’s just a little

illegal. Just sayin.” Id.

       Raeford attempts to undermine the force of these allegations by pointing out

that the emails do not “identify any ‘Bid Customer’ who was affected,” or “that any

bid made or any price charged by [Raeford] or any other Defendant was affected by

the information.” R. 5609 at 5. But these arguments are about what can be proven,

not what is plausibly alleged. The Court has already discussed that evidence of price

exchange communications among competitors in the context of increased prices is

generally sufficient to plausibly allege a conspiracy in violation of the Sherman Act.



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The allegations that Raeford communicated with its competitors about price are

plausible, as are the allegations of price increases. Therefore, the claim against

Raeford is plausible too. 6

       Wayne. The communications alleged in paragraphs 900 and 1025 of the

consolidated complaint just discussed with reference to Raeford also implicate

Wayne. Furthermore, there are three additional internal Wayne emails alleged in the

complaint in which Wayne employees admit discussing pricing information with

Pilgrim’s. See R. 5455 at 322 (¶ 1009); 327 (¶ 1029); 330 (¶ 1039); 334 (¶ 1053). Wayne

characterizes these communications as “sporadic” and lacking in clarity. But again,

that is beside the point on a motion to dismiss. What is relevant is what reasonable

inferences can be drawn from the fact that Wayne employees were communicating

about prices with competitors while prices were increasing. Such allegations are

sufficient to plausibly allege that Wayne joined a conspiracy to fix prices.

       Case. Similar to the other Defendants already discussed, Plaintiffs have

discovered evidence that Case was exchanging pricing information with its

competitors. Emails show that certain competitors had Case pricing information in

2013 and 2014 related to customer KFC. See R. 5455 ¶¶ 926, 977-78, 1027. Another

email shows a Case employee providing pricing information related to KFC to a

competitor. Id. ¶ 988. Yet another competitor possessed Case’s historical pricing




6 Raeford argues that other allegations of earlier communications are outside the

alleged conspiracy period, see R. 5455 ¶¶ 898-99, or concern chicken carcasses instead
of Broiler meat, see id. ¶ 900. But the questionable relevance of those allegations does
not undermine the strength of the allegations about the 2015 communications.
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information in 2016. Id. ¶ 1041. As with Sanderson, Raeford, and Wayne, this

evidence of communications with competitors is sufficient to plausibly allege that

Wayne joined a conspiracy to fix the prices of Broiler chicken.

      Fieldale.    Plaintiffs   argue   “the    alleged   facts   regarding   Bid-Rigging

Defendants’ information exchange network are overwhelming.” R. 5710 at 40. True,

in the preceding paragraphs the Court has reviewed plausible evidence of price

exchange communications as to Defendants Sanderson, Raeford, Wayne, and Case.

But the evidence against Fieldale is not of the same character. Indeed, Plaintiffs

concede that “there are only two specific allegation referencing [Fieldale] by name in

the bid-rigging/price-fixing section of the Complaint.” Id. at 37. And neither of those

allegations indicate that Fieldale communicated about prices with any of its

competitors. Rather, the allegations are that Fieldale raised prices during the alleged

conspiracy period, see R. 5455 ¶ 1086, and Fieldale’s chairman stated at a 2014 board

meeting that “the price of chicken is going down, but . . . our price is steady.” See id.

¶ 1101. As discussed, raising prices in parallel with competitors is not sufficient by

itself to plausibly establish participation in a conspiracy. Plaintiff argues that

Fieldale’s price increases are indicative of conspiracy because Fieldale implemented

a price increase “nearly identical” to that of its competitors. See R. 5710 at 38. But

this is just another way of alleging parallel conduct. The fact that the price increases

were “nearly identical” is a difference of magnitude, not of kind. And in order for

allegations of parallel conduct to contribute to a plausible claim of a conspiracy, there

must be some kind of factual allegations beyond the parallel conduct alone.



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      Plaintiffs made such additional allegations with respect to the other Bid-

Rigging Defendants by pointing to evidence of communications about prices. But

Plaintiffs have made no similar allegations about Fieldale’s conduct. The only other

allegation about Fieldale is that its chairman noted that Fieldale was maintaining

its prices in the face of declining market prices. The Court has noted in the past that

it is folly to unilaterally increase prices in a commodity market. But an isolated

statement from a Fieldale officer, that does not even reference any competitor, is not

an indication that Fieldale was exchanging price information with its competitors.

Perhaps if Plaintiffs had identified some evidence of Fieldale communicating with its

competitors, the Court could reasonably infer that the chairman’s statement was a

form of signaling made with confidence based on those communications with

competitors. But with zero factual allegations that Fieldale was communicating with

its competitors, the chairman’s statement does not carry sufficient weight to push the

well-pled evidence of parallel conduct into the realm of plausibly demonstrating that

Fieldale joined a price-fixing conspiracy.

II.   Counts 2 & 3: Supply Reduction and Georgia Dock

      None of the Defendants ask the Court to reconsider its 2017 decision that

Plaintiffs have plausibly alleged a conspiracy to reduce supply and a conspiracy to

manipulate the Georgia Dock price index, except for Pilgrim’s. 7 Pilgrim’s argues that



7 The Court’s understanding is that Defendant Marshall Durbin was not a defendant

in the case at the time the Court denied the motion to dismiss in Track One, so the
Court would not have had the opportunity to evaluate the allegations against
Marshall Durbin with respect to the supply reduction conspiracy, i.e., Count 2 in the
Track Two consolidated complaint. (Marhsall Durbin is not alleged to be a Georgia
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a recent Ninth Circuit case examined allegations of a supply reduction conspiracy

similar to this case and affirmed a Rule 12(b)(6) dismissal. See In re Dynamic Random

Access Memory (DRAM) Indirect Purchaser Antitrust Litig., 28 F.4th 42 (9th Cir.

2022). Pilgrim’s, however, merely cites the case and does not provide any analysis of

the factual allegations, or why the similarity would support dismissal here. The Court

is not required to address such an undeveloped argument.

      In any event, the court in DRAM rejected the plaintiffs’ allegations of “supply

cuts against interest,” which were an important part of the Court’s analysis of the

alleged supply reduction conspiracy in this case. In the opinion on the motion to

dismiss in Track One, this Court noted that supply cuts in a commodity market, like

that for Broilers, are indicative of prior agreement. The plaintiffs in the DRAM case

made a similar allegation about the market at issue in that case, but the Ninth

Circuit rejected it based on the particular facts of that case. This was largely because

the court noted that when Samsung—the leading producer—unilaterally cut

production, it nevertheless remained the market leader, “showing that restraining

supply without an agreement was not as perilous as Plaintiffs claim.” Id. at 49. That



Dock Defendant.) The Court has been unable to determine when or how Marshall
Durbin became a defendant in the case. The consolidated complaint includes a “Chart
of Direct Action Plaintiffs’ Cases” which lists the docket entry number of the
complaint for each Plaintiff. But a cursory check of some of the entries in this chart
shows that Marshall Durbin is not named as a defendant in some of the complaints
listed. See, i.e., R. 2130 (complaint of Jetro Holdings, LLC). But even though it
appears that the Court has never addressed the allegations about Marshall Durbin’s
participation in the supply reduction conspiracy, Marshall Durbin, like the other
Defendants (besides Pilgrim’s) has not filed a motion seeking dismissal from Count
2, so the Court does not have a reason to address in this opinion the plausibility of
the supply reduction conspiracy allegations against Marshall Durbin.
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circumstance is contrary to the allegations here, where Tyson attempted to

unilaterally reduce supply prior to the conspiracy period and lost market share.

       This is the only argument Pilgrim’s makes that the Court should reconsider its

earlier denial of the motions to dismiss the supply reduction conspiracy claims. It is

insufficient.

       Pilgrim’s also concludes its brief by requesting that the Court dismiss Count 3,

which is the count making a claim for a Georgia Dock conspiracy. But Pilgrim’s makes

no argument in support of this request, so the Court denies it. 8

III.   Count 1 & 6: Overarching Conspiracy

       In Count 1, Plaintiffs claim that “Defendants engaged in [a] multi-faceted,

overarching conspiracy . . . [to] artificially inflat[e] and maintain[] prices.” Plaintiffs

allege that Defendants accomplished this price-fixing by engaging in the following

primary actions: (1) “coordinated unprecedented cuts in the supply of broiler

chickens”; (2) “manipulated the Georgia Dock price index”; and (3) “rigged bids

submitted to customers.” See R. 544 at 407 (¶¶ 1321-22). Count 6 is a similar

overarching conspiracy claim but includes only the alleged Georgia Dock conspiracy

and the bid-rigging conspiracy.

       To allege an unlawful conspiratorial agreement, a plaintiff must allege facts

from which the Court can reasonably infer that the defendants “had a conscious

commitment to a common scheme designed to achieve an unlawful objective.”




8 The Court, however, reminds all Plaintiffs that the Court granted summary
judgment to all Defendants on the Georgia Dock conspiracy claims in Track One.
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Omnicare, Inc. v. UnitedHealth Group, Inc., 629 F.3d 697, 706 (7th Cir. 2011); see

also id. (“That is, the circumstances of the case must reveal a unity of purpose or a

common design and understanding, or a meeting of the minds in an unlawful

arrangement.”). Here, Plaintiffs have plausibly alleged that each Defendant

participated in some unlawful price-fixing conduct. For instance, the Court has

previously found the allegations of a supply reduction conspiracy and a conspiracy to

manipulate the Georgia Dock to be plausible. As discussed, none of the Defendants

ask the Court to reconsider those findings with regarding to those two conspiracies

on these motions, save for Pilgrim’s, which motion the Court has rejected.

Additionally, the Court just explained its finding that Plaintiffs have plausibly stated

a claim for a bid-rigging conspiracy in Counts 4 and 5.

      Despite the plausibility of all three separate conspiracies, not all Defendants

are alleged to have directly participated in all three:

                              Chart of Participation
  Defendant Name        Supply Reduction    Georgia Dock              Bid-Rigging
       Agri Stats               x
         Amick                  x
         Foster                 x
      Mountaire                 x
           OK                   x
          Peco                  x
       Keystone                 x
       Harrison                 x                         x
        Claxton                 x                         x                 x
        Fieldale                x                         x                 x
          Koch                  x                         x                 x
        Mar-Jac                 x                         x                 x
       Pilgrim’s                x                         x                 x
      Sanderson                 x                         x                 x
      Simmons                   x                         x                 x
         Tyson                  x                         x                 x
        Wayne                   x                         x                 x

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                             Chart of Participation
    Defendant Name     Supply Reduction    Georgia Dock               Bid-Rigging
          Case                  x                                           x
        George’s                x                                           x
        Raeford                 x                                           x
     Marshall Durbin            x                                           x
         Perdue                 x                                           x

Most of the Plaintiffs argue that the fact that not all Defendants participated in all

aspects of all three conspiracies is not fatal to their overarching conspiracy claims.

However, as mentioned above, a group of Plaintiffs—the “Certain Restaurant

DAPs”—disagree with their fellow Plaintiffs, and claim instead that only the Bid-

Rigging Defendants are liable for the overarching conspiracies alleged in Counts 1

and 6. See R. 5710 at 43 (“Certain Restaurant DAPs do not seek to hold non-Bid-

Rigging Defendants accountable for the bid-rigging and price-fixing conduct—either

directly via Count 4 or through the overarching conspiracy back doors of Counts 1

and 6.”). This is likely because, in addition to not being implicated in the bid-rigging

conspiracy, almost none of the non-Bid-Rigging Defendants are alleged to have

participated in the Georgia Dock conspiracy either. 9 In other words, all seven of the

non-Bid-Rigging Defendants (other than Harrison) are alleged to have participated

in only the supply reduction conspiracy—this group of seven Defendants being Agri

Stats, Amick, Foster, Mountaire, OK Foods, Peco, and Keystone. The Court will

continue to refer to this group of seven Defendants as “the group of seven

Defendants.”




9Defendant Harrison being the only non-Bid-Rigging Defendant alleged to have
participated in the Georgia Dock conspiracy.
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      As discussed, Plaintiffs’ overarching conspiracy claims are premised on the

same factual allegations supporting the three underlying conspiracy claims. But

because not all Defendants are alleged to have taken the same anticompetitive

conduct, the analysis of whether Plaintiffs have stated a plausible overarching

conspiracy claim against each Defendant depends on which of the three underlying

conspiracies Defendants are plausibly alleged to have engaged in. For this reason,

the overarching conspiracy claims against (a) the group of seven Defendants and (b)

the Bid-Rigging Defendants, must be analyzed separately.

      A.     The Group of Seven Defendants

      Plaintiffs other than the “Certain Restaurant DAPs”—i.e., the “non-

Restaurant DAPs”—continue to claim that the group of seven Defendants are liable

for the overarching conspiracy even though they are only alleged to have participated

in supply reduction. But the Court cannot see how the group of seven Defendants can

be considered to have engaged in parallel conduct with the Bid-Rigging Defendants

when the group of seven Defendants did not engage in the bid-rigging or Georgia Dock

conspiracies. This is primarily because Plaintiffs allege that the supply reduction

conspiracy was largely complete by the end of 2012, when the bid-rigging conspiracy

was just beginning, and the Georgia Dock conspiracy did not begin in earnest until

2014. See R. 5455 ¶ 16. Plaintiffs allege that there were lingering effects of the supply

reduction conspiracy beyond 2012, but concede that the only two “rounds” of

significant supply reduction—implemented with “cuts to breeder flocks”—occurred

from 2008-2009 and 2011-2012. See id. Plaintiffs allege that there were other



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attempts to cut supply by other means in subsequent years, but these alleged

attempts did not result in decreases in total market supply as did the breeder flock

cuts in 2008-2009 and 2011-2012. For this reason, the Court considers the supply

reduction conspiracy to be plausibly pled only through 2012. 10

       With the supply reduction conspiracy ending in 2012, the supply reduction

conduct is not parallel to either the Georgia Dock conduct or the bid-rigging conduct.

The bid-rigging conspiracy is alleged to have begun in August 2011 and lasted

through 2019. And the Georgia Dock conspiracy is alleged to have occurred from 2014

until 2017. See R. 5455 ¶¶ 659, 706. Thus, the conspiratorial conduct of the group of

seven Defendants who are alleged to have participated in only the supply reduction

conspiracy is not materially contemporaneous with the rest of the conduct forming

the overarching conspiracies, i.e., the Georgia Dock manipulation conduct and the

bid-rigging conduct. And with the conduct being more consecutive than

contemporaneous, the Court finds that the conduct is not “parallel” and so is not

“circumstantial evidence of an agreement not to compete.” See Twombly, 550 U.S. at

553.

       However, even if the supply reduction conduct by the group of seven

Defendants could be considered “parallel” to the ensuing Georgia Dock manipulation

conduct and bid-rigging conduct, the allegations of parallel conduct are “merely

consistent with,” but do not “plausibly suggest” the existence of an agreement. Id. at




10 This finding is also in accordance with the Court’s findings on summary judgment

in Track One.
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557. As discussed, while parallel conduct makes a conspiratorial agreement

“conceivable,” parallel conduct, without more, does not make an agreement

“plausible.” Plaintiffs are still required to identify additional conduct beyond parallel

conduct—often referred to as “plus factors”—to “nudge” Plaintiffs’ allegation of

agreement “across the line from conceivable to plausible.” See Twombly, 550 U.S. at

570.

       With respect to the group of seven Defendants, the question is whether the

“plus factor” allegations that make plausible the claim that they participated in a

supply reduction conspiracy also make plausible the claim for an overarching

conspiracy including the bid-rigging conduct and the Georgia Dock manipulation

conduct committed by the Bid-Rigging Defendants. The Non-Restaurant DAPs’ argue

that the plus factor allegations are sufficient to plausibly state both claims because if

the group of seven Defendants was plausibly communicating with the Bid-Rigging

Defendants about a supply reduction conspiracy from 2008-2012, it is just as

plausible that they knew about and agreed to the later Georgia Dock and bid-rigging

conspiracy. In support of this argument, the Non-Restaurant DAPs reference the

Court’s explanation in the order denying the 2017 motion to dismiss that not all

participants in a conspiracy must be alleged to take the same actions or have the

precisely same knowledge to make a conspiratorial agreement plausible. See R. 5769

at 23 (citing In re Broiler Chicken Antitrust Litig., 290 F. Supp. 3d 772, 803 (N.D. Ill.

2017) (“Participation by each conspirator in every detail in the execution of the

conspiracy is unnecessary to establish liability, for each conspirator may be



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performing different tasks to bring about the desired result.”)). They argue further

that the suspicious communications regarding supply reduction are indicative of an

overarching conspiracy to fix Broiler prices, even if the group of seven Defendants

were not directly involved in the Georgia Dock and bid-rigging conduct. In other

words, the Non-Restaurant DAPs argue that communications about one kind of price

fixing (i.e., supply reduction) are sufficient to plausibly allege agreement about

different kinds of price fixing (Georgia Dock and bid-rigging) when the

communications are among the same actors.

      The fundamental problem with this argument is that the Non-Restaurant

DAPs identify no plus factor allegations permitting the Court to make the inferential

leap from (a) the agreement of the group of seven Defendants to a supply reduction

conspiracy, to (b) an agreement including Georgia Dock and bid-rigging. The plus

factor allegations that the Bid-Rigging Defendants participated in the supply

reduction conspiracy and then went on to participate in the bid-rigging conspiracy

(with some of them also joining the Georgia Dock conspiracy), say nothing about the

intent of the group of seven Defendants to join anything beyond the supply reduction

conspiracy. Without plus factor allegations permitting the inference that the group of

seven Defendants were aware of the Georgia Dock and bid-rigging conspiracies such

that they consciously committed to those conspiracies, the overarching conspiracy

claims against the group of seven Defendants must fail.

      A more straightforward example of the kind of factual allegations missing with

respect to the overarching conspiracy claim against the group of seven Defendants is



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a bank robbery conspiracy. In a bank robbery conspiracy, the get-away driver might

not be told the details of how the bank will be robbed because he doesn’t need that

knowledge in order to perform his role as get-away driver. But the driver’s knowledge

about the get-away plan implies the existence of a conspiracy to rob a bank. If there is

a get-away plan, there must also be a plan to commit a robbery from which there is a

need to flee. The ability to infer knowledge of a bank robbery from knowledge of a get-

away makes the allegations against the get-away driver sufficient to plausibly allege

the get-away driver’s participation in the entire conspiracy.

      Similarly, in the opinion on the motion to dismiss in Track One, the Court

found that the supply reduction co-conspirators’ lack of knowledge of how specifically

each coconspirator will reduce supply did not undermine the plausibility of the

conspiracy claim. But that was true because the specific method of supply reduction

was inconsequential to the joint goal to reduce supply. In other words, the co-

conspirators only needed to know that they were all going to reduce supply, not how

they were going to go about doing it. Moreover, one co-conspirator’s reduction of

supply implies knowledge that the other co-conspirators would also reduce supply

because in a commodity market it is economically infeasible to unilaterally reduce

supply, making such an attempt implausible. Commodities are fungible, by

definition. So, assuming no decrease in demand (an undisputed fact in the Broiler

market), a reduction of supply by one competitor should generally immediately be

filled by another competitor. For that reason, when a commodity producer reduces

supply, this is at least some indication that the producer knows other producers will



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also be reducing supply. These circumstances are analogous to the get-away driver

whose knowledge of the get-away plan implies that existence of a bank robbery

conspiracy—the get-away plan doesn’t make sense without it.

      The same cannot be said of the relationship of knowledge and action among

the three different conspiracies alleged in Counts 1 and 6 with respect to the group

of seven Defendants. Participating in a supply reduction conspiracy does not

necessarily imply the existence of a conspiracy to manipulate the Georgia Dock or a

conspiracy to rig bids, and vice versa. Without it being plausible that each of the

underlying conspiracies implies the existence of the other, there is no basis for the

Court to infer the existence of an overarching conspiracy based on the mere existence

of the underlying conspiracies.

      Not only do the three conspiracies not logically imply the existence of the

others, Plaintiffs allege that each of the three conspiracies stands on its own. In other

words, Plaintiffs allege that the conspiracy to reduce supply was successful in

artificially increasing prices. They also allege that the conspiracy to manipulate the

Georgia Dock was successful without the need for success in the supply reduction

conspiracy. And while Plaintiffs allege that Defendants sometimes used prices from

the Georgia Dock in rigging bids, there is no indication that this was necessary for

the bid-rigging conspiracy to succeed or that mere use of the Georgia Dock prices

implied knowledge that those prices were fixed. The fact that Plaintiffs allege that

each conspiracy is self-sufficient undermines their argument that the mere existence




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of all three conspiracies plausibly implies that the group of seven Defendants agreed

to an overarching conspiracy beyond the supply reduction conspiracy.

      Certainly, it is possible or conceivable that three self-sufficient conspiracies

could be parts of an overarching conspiracy to increase prices. But there is nothing

about the evidence supporting each individual conspiracy indicating that the group

of seven Defendants were in agreement with all of it, tacitly or expressly. Without

factual allegations that point to a commitment by the group of seven Defendants to

more than just supply reduction—specifically to manipulating the Georgia Dock and

bid-rigging—then Counts 1 and 6 must be dismissed with respect to the group of

seven Defendants.

                                 *      *        *   *

      Before moving on to address Counts 1 and 6 with respect to the Bid-Rigging

Defendants, the Court pauses to note that in order to make both (i) this finding with

respect to Counts 1 and 6 and the group of seven Defendants, and (ii) the earlier

finding regarding “proper plaintiffs” in Counts 4 and 5, the Court was required to

determine what inferences are reasonably made from the facts alleged. And in both

instances, Plaintiffs were asking the Court to make an inferential leap. First, in

Counts 4 and 5, Plaintiffs asked the Court to find that the factual allegations showing

Bid-Rigging Defendants exchanging price information about some Plaintiffs was

sufficient to infer that the Bid-Rigging Defendants were exchanging price information

about all Plaintiffs. Second, in Counts 1 and 6, Plaintiffs asked the Court to find that

the factual allegations showing the group of seven Defendants engaged in a supply



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reduction conspiracy with the Bid-Rigging Defendants were sufficient to infer that

the group of seven Defendants were also engaged in an overarching conspiracy

including bid-rigging with the Bid-Rigging Defendants.

      While these are both inferences, the first is reasonable, and the second is not.

The first was reasonable because it only requires imagining that the Bid-Rigging

Defendants are engaging in the same conduct with respect to a larger group of

customers. The same incentives and risks associated with exchanging pricing

information about the Plaintiffs identified in the communications alleged in the

complaint would also be associated with exchanging pricing information about

additional Plaintiffs who weren’t so identified. That is a reasonable inference, so

Plaintiffs’ claims in Counts 4 and 5 are plausible.

      By contrast, in analyzing the overarching conspiracy pled in Counts 1 and 6,

the Court is asked to make an inferential leap from one kind of conduct to a different

kind of conduct, i.e., to infer that defendants who reduce supply must also be

conspiring to rig bids. Plaintiffs make no factual allegations—no parallel conduct or

plus factors—suggesting that the group of seven Defendants engaged in bid-rigging

or a bid-rigging conspiracy. Without such factual allegations, the Court is left with

the bare fact of the supply reduction conduct itself, and Plaintiffs’ argument that

engaging in supply reduction in-and-of-itself is an indication that the group of seven

Defendants continued to conspire with Bid-Rigging Defendants when they moved on

to the bid-rigging conspiracy after the supply reduction conspiracy ended. But as the

Court discussed, there is nothing about supply reduction conduct that necessarily



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indicates participation in the bid-rigging conspiracy. Plaintiffs have not made any

argument or allegation providing the Court a basis to infer the leap from one form of

conduct to another.

      At bottom, it is plausible that factual allegations demonstrating that certain

defendants are exchanging pricing information about certain customers are also

exchanging pricing information about other customers. It is not similarly plausible

that defendants who are engaged in a supply reduction conspiracy are also engaged

in a bid-rigging conspiracy. And this is because Plaintiffs have not identified any

factual allegations permitting that Court to make the necessary inference reasonable

or the claim plausible.

                                *      *        *   *

      B.     The Bid-Rigging Defendants

      The analysis is different with respect to the Bid-Rigging Defendants. As shown

in the chart above, all of the Bid-Rigging Defendants are alleged to have participated

in both the supply reduction and bid-rigging conspiracies, with a sub-set of the Bid-

Rigging Defendants also allegedly conspiring to fix the Georgia Dock. And notably,

the Georgia Dock and Bid-Rigging conspiracies were contemporaneous.

      1.     Supply Reduction and Bid-Rigging

      It is entirely plausibly that the supply reduction conspiracy and the bid-rigging

conspiracy constituted an overarching conspiracy among the Bid-Rigging Defendants.

The factual allegations supporting both the supply reduction and bid-rigging

conspiracies are strong. The factual allegations supporting the bid-rigging conspiracy



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include extensive communications among many of the Bid-Rigging Defendants

explicitly exchanging price information in the context of maintaining high Broiler

prices to the detriment of Plaintiffs’ businesses. Furthermore, all the Bid-Rigging

Defendants are plausibly alleged to have participated in both conspiracies, and the

bid-rigging conspiracy followed right on the heels of the supply reduction conspiracy,

indicating a connection between them.

      Unlike the factual allegations with respect to the group of seven Defendants,

here the Bid-Rigging Defendants are alleged to have acted in parallel both in kind

and in time. Moreover, there are strong allegations that the Bid-Rigging Defendants

communicated directly and expressly about rigging bids and fixing prices. With the

Court having found that Plaintiffs have plausibly alleged the Bid-Rigging Defendants

agreed to both reduce supply and then to rig bids and fix prices, it is no great

inferential leap to find that these allegations also plausibly demonstrate a larger

overarching conspiracy to fix prices that included both the supply reduction and bid-

rigging conduct.

      The Bid-Rigging Defendants argue that Plaintiffs’ overarching conspiracy

claim is “no more than a bare allegation that the allegedly illicit conduct work in

tandem.” R. 5599 at 11. What Defendants really mean is that Plaintiffs “do not point

to any meeting, communication, or event” expressly embodying the alleged

overarching conspiracy. Id. at 2. But as the Court noted earlier, Plaintiffs do not have

the burden to prove their claims at the pleading stage. Rather, plausible inferences

can win the day. And here, the strength of the plus factors supporting the supply



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reduction and bid-rigging conspiracies—particularly the economic evidence of supply

reduction and the express communications indicating bid-rigging and price fixing—

with the bid-rigging conspiracy beginning just as the supply reduction conspiracy was

ending, is strong evidence that the two conspiracies are connected in the context of

the factual allegations showing that the Bid-Rigging Defendants actually engaged in

bid-rigging (unlike the group of seven Defendants). This evidence is sufficient to

plausibly state a claim for an overarching conspiracy even though there is no direct

evidence of an agreement connecting the supply reduction and bid-rigging

conspiracies.

      Defendants also argue that the overarching conspiracy is not plausible for

several additional reasons. First, they argue that the methods were “entirely

different.” See R. 559 at 11. But the fact of differing methods does not necessarily

undermine the plausibility of a conspiracy allegation. The question is what can be

inferred from the fact of differing methods. Here, while supply reduction and bid-

rigging are undeniably different methods, it is not surprising that these would be the

methods of choice for Broiler producers interested in fixing the price of Broiler

chicken. They are at least plausibly complimentary methods.

      Defendants also argue that the alleged participants and time periods of the

underlying conspiracies are so different as to undermine any allegation of an

overarching conspiracy. See R. 5599 at 12. The Court has already addressed the

different time periods, which was in part a basis to grant the motion to dismiss the

overarching conspiracy claim against the group of seven Defendants. With respect to



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the Bid-Rigging Defendants, however, the plus factor allegations are strong enough

overcome the fact that the two underlying conspiracies occurred consecutively instead

of simultaneously. Furthermore, the fact that Plaintiffs allege Defendants’

anticompetitive strategies evolved over time is not an implausible scenario, and the

fact that the two alleged conspiracies followed each other immediately indicates some

coordination among the alleged participants.

       This is especially true, because contrary to Defendants’ argument, it is the

same Bid-Rigging Defendants alleged to have participated in both conspiracies

combining into an overarching conspiracy. The Court has already accounted for the

fact that the group of seven Defendants is not alleged to have participated in the bid-

rigging or Georgia Dock conspiracies. That leaves the group of Bid-Rigging

Defendants that allegedly participated in both, a fact which actually increases the

plausibly of Plaintiffs’ claims.

       Defendants also argue that “Plaintiffs do not explain how (or why) all

Defendants would conspire to rig bids on small-bird products they do not even sell.”

R. 5599 at 12. But, as Plaintiffs point out, “the Complaint makes clear, [that] Bid-

Rigging Defendants’ bid-rigging and price-fixing conduct was not restricted just to

small birds.” R. 5710 at 21 (citing the complaint, R. 544 ¶1086 (“But the price

increases the Bid Customers experienced were not just limited to 8 piece and whole

bird products. It extended to all chicken products.”)). True, the criminal indictments

were focused on rigging bids of small bird products. But even if those were the only

allegations in the complaint, they would likely be sufficient to plausibly allege bid-



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rigging and price-fixing beyond the small-bird market. In any event, the factual

allegations in the consolidated complaint are not limited to small-bird transactions.

Rather, the allegations in the complaint of bid-rigging and price-fixing plausibly

implicate the Defendants who did not produce small-bird products.

      Lastly, Defendants cite several cases they argue should be interpreted to

support their argument that Plaintiffs’ claims should be dismissed. See R. 5599 at 13-

16. But none of those cases establish a hard and fast principle by which a court can

determine whether an “overarching” conspiracy is plausible. Rather, the courts in all

those cases were doing what this Court has done here—analyzing the allegations

regarding underlying conspiracies to determine whether they also add up to a

plausible overarching conspiracy. And unsurprisingly, those previous courts, like this

Court, dismissed some claims and retained others. At bottom, those cases have little

to say about the plausibility of the particular facts and claims in this case.

      2.     Georgia Dock and Bid-Rigging

      Unlike the supply reduction conspiracy, not all Bid-Rigging Defendants are

alleged to have participated in the Georgia Dock conspiracy. Specifically, the Georgia

Dock conspiracy is predicated on the allegation that the Georgia Department of

Agriculture solicited reports of Broiler prices from Broiler producers in Georgia only,

most of whom eventually formed the Poultry Market News Advisory Council to advise

the Georgia Department of Agriculture and the staff of the Georgia Dock price index.

In other words, the non-Georgia Dock Defendants could not submit prices to the




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Georgia Dock, so it was impossible for the non-Georgia Dock Defendants to directly

participate in the Georgia Dock conspiracy.

      Nevertheless, Plaintiffs have alleged that the Bid-Rigging Defendants

sometimes used the allegedly inflated Georgia Dock prices as the prices in their

rigged bids and fixed price offers to their customers. Moreover, the Court has already

found that the allegations of communications about bid-rigging and price-fixing

among the Bid-Rigging Defendants is strong. While Plaintiffs have not identified any

communications expressly connecting the Georgia Dock conspiracy to the bid-rigging

conspiracy, both conspiracies allegedly occurred during the same time period and are

plausibly directed at the same goal. These circumstances, combined with the strength

of the allegations of communications among the Bid-Rigging Defendants, are

sufficient to plausibly allege that the Bid-Rigging Defendants engaged in the

overarching conspiracies alleged in both Counts 1 and 6.

      C.     Defendants Harrison and Fieldale

      Harrison is alleged to have participated in both the supply reduction

conspiracy and the Georgia Dock conspiracy. Harrison is not alleged to have

participated in the bid-rigging conspiracy. This means that there are no plus factor

allegations in the complaint that Harrison participated in the price exchange

communications among the Bid-Rigging Defendants. Nor have Plaintiffs made any

argument why Harrison’s alleged participation in the Georgia Dock conspiracy is

sufficient to plausibly allege Harrison’s participation in the bid-rigging conspiracy.

Without such factual allegations, there is no plausible basis to infer that Harrison



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participated in an overarching conspiracy. Therefore, Counts 1 and 6 against

Harrison are dismissed.

          Similarly, because the Court found that the allegations were insufficient to

plausibly demonstrate the Fieldale participated in the bid-rigging conspiracy, the

only plausible allegations against Fieldale are the supply reduction and Georgia Dock

conspiracy allegations. This puts Fieldale in an analogous position to Harrison, such

that Counts 1 and 6 against Fieldale are also dismissed.

IV.       RICO and State Law Claims

          Lastly, the Court denies Defendants’ motions to dismiss Plaintiffs’ RICO and

state law claims. The Court’s rulings on the Sherman Act claims are sufficient to

identify which parties must participate in renewed discovery regarding Counts 1, 4,

5, and 6. The scope of discovery will not be altered by deferring rulings on arguments

regarding the viability of Plaintiffs’ RICO and state law claims until summary

judgment, so the motions to dismiss the state law claims are denied without

prejudice. If any party believes that a ruling on a RICO or state claim is necessary in

order to properly define the scope of discovery, they have leave to bring such a motion

after meeting and conferring with the other parties.

                                       Conclusion

          Therefore, Defendants’ motions [5587] [5589] [5592] [5595] [5598] [5601]

[5605] [5607] and [5610] are denied in part and granted in part as follows:

         Pilgrims’ motion to dismiss Counts 2 and 3 is denied;




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      the motions to dismiss Counts 1 and 6 are granted as to Agri Stats, Amick,

       Foster, Mountaire, OK Foods, Peco, Keystone, Harrison, and Fieldale;

      the motions to dismiss Counts 1 and 6 are denied as to Case, Claxton, George’s,

       Raeford, Koch, Mar-Jac, Marshall Durbin, Perdue, Pilgrim’s, Sanderson,

       Simmons, Tyson, and Wayne;

      the motions to dismiss Counts 4 and 5 are denied as to Case, Claxton, George’s,

       Raeford, Koch, Mar-Jac, Marshall Durbin, Perdue, Pilgrim’s, Sanderson,

       Simmons, Tyson, and Wayne; and

      and the motions to dismiss the RICO and state law claims in Counts 9-36 are

       denied without prejudice.

The parties should file a joint status report addressing discovery and other next steps

due 3/5/2025. Lastly, Plaintiffs are ordered to file a status report by 2/19/2025

identifying the docket entries in which Marhsall Durbin was first added as a

defendant, and identifying Marshall Durbin’s counsel.

                                                     ENTERED:


                                                     ______________________________
                                                     Honorable Thomas M. Durkin
                                                     United States District Judge
Dated: February 11, 2025




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